Case 2:04-cv-02525-SHI\/|-dkv Document 5 Filed 05/20/05 Page 1 of 2 Page|D 8

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

JAMES R. STEVENS,
Plaintiff,

v. Cv. No. 04-2525-Ma

FEDERAL EXPRESS,

Defendant.
J'UDGMENT
Decision. by' Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
Without prejudice, in accordance With the Order of Dismissal,
docketed May 16, 2005.

APPROD://C

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-02525 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

J ames R. Stevens
4423 N. Crockett
Sarah, MS 38665

Honorable Samuel Mays
US DISTRICT COURT

